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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                HONORABLE JEROME B. SIMANDLE


        v.                                         Criminal Action
                                                 No. 13-121-2 (JBS)
  DANIEL CARDILLO,

                    Defendant.                          OPINION



APPEARANCES:

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SIMANDLE, Chief Judge:

      INTRODUCTION

      Defendant Daniel Cardillo stands accused of one count of

conspiracy to commit wire fraud in violation of 18 U.S.C. §§

1343 & 1349 & 371. The Superseding Indictment, filed on March

20, 2013, alleges that Cardillo was a “straw purchaser” of real

estate in a larger conspiracy to profit from the sale of ocean

town condominiums by obtaining mortgage loans for unqualified
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borrowings using fraudulent loan applications, fraudulent HUD-1

Settlement Statements, and other documents.

      Before the Court are motions in limine by United States

[Docket Items 39, 44, and 68] and Defendant Cardillo [Docket

Items 40 & 42].1 The Court will address each in turn.

      BACKGROUND

      The Superseding Indictment identifies 26 allegedly

fraudulent real estate transactions from 2006 to 2008 that

followed two general patterns. The first pattern involved same-

day closings, in which Defendant John Leadbeater would purchase

the property “dry,” meaning that little or no funds were

produced for the transaction, and then a straw purchaser would

purchase the same property on the same day at a substantially

increased sales price, using false documents. (Superseding

Indictment [Docket Item 15] ¶ 19.) According to the Superseding

Indictment, Defendant Cardillo served as one of several straw

purchasers, who

      would neither pay deposits or closing costs to acquire
      the properties; would not have to make monthly mortgage
      payments after they owned the properties; would receive
      an up-front payment after the closing for allowing their
      names and credit information to be used in connection
      with the transaction; and/or would not have to manage
      the properties . . . .




1 A separate Opinion and Order was entered on February 10, 2015,
adjudicating the motions as they pertain to Defendant
Leadbeater. [Docket Items 76 & 77.]
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(Id. ¶ 12) (original formatting removed). Leadbeater allegedly

directed title clerks to prepare documents for the closings,

including fraudulent HUD-1 Uniform Settlement Statements signed

by the straw purchasers “reflecting deposits and funds brought

to closing by the Straw Purchaser that had never been made.”

(Id. ¶ 19(e).) The title companies allegedly distributed

proceeds of fraudulently obtained mortgage loan to the

conspirators by wiring funds into an account controlled by

Leadbeater or by issuing a check made payable to one of

Leadbeater’s companies, such as BCJL Enterprises or Lead 1

Investments. (Id. ¶ 19(f).)

      The second pattern involved fraudulent line-item payments

off of the HUD-1 Settlement Statements. (Id. ¶ 20.) According to

the Superseding Indictment, Leadbeater and co-conspirators

recruited a straw purchaser to buy real estate “at a sales price

that included a substantial increase to cover a pay-out” to

Leadbeater or his co-conspirators. (Id. ¶ 20(b).) Again, the

straw purchasers obtained loan applications with false

documentation, and attended closings at which Leadbeater

directed the title clerks to prepare documents and distribute

proceeds to Leadbeater or his companies, or to a co-

conspirator’s company. (Id. ¶ 20(c)-(e).)

      At oral argument, the Government represented that Cardillo

is alleged to have participated in only one of the 26 fraudulent

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real estate transactions: the purchase of a condominium unit at

620 West Burke Avenue in Wildwood, N.J. The Superseding

Indictment lists the closing date of that purchase as December

7, 2007, and the “lender” as “Country Wide Home Loans,” but,

according to Cardillo, he purchased the unit on or about

December 13, 2007. (Compare Superseding Indictment at 17 with

Cardillo Mot. [Docket Item 40-1] at 2.) The Government alleges

that co-conspirators Ernesto Rodriguez and Michelle Martinez,

who both worked as mortgage brokers for Strong Point Mortgage,

processed several of the fraudulent loan applications, including

the Cardillo application. (Superseding Indictment at 2; Gov’t

Opp’n [Docket Item 45] at 15.)         A co-conspirator with the

initials J.M. served as the title agent for Shore Title Agency,

and was involved in several of the transactions, including

Cardillo’s and at least four others. (Superseding Indictment at

4.) Although the Government does not allege that Cardillo had

personal contact with all of the co-conspirators, those involved

in the Cardillo transaction allegedly participated in other

fraudulent transactions with a wider circle of co-conspirators,

including Paul Watterson, who recruited straw purchasers, and

Deborah Hanson, a mortgage broker. The Government contends that

Defendant Leadbeater received approximately $159,000 as a

kickback in the Cardillo transaction, and that witnesses will

testify that Cardillo was upset because he did not receive a

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large kickback he was promised. Cardillo still resides in the

unit that he purchased through allegedly fraudulent means.

      Following oral argument, the Government filed a

supplemental brief [Docket Item 53] and a motion to admit

evidence of several audio taped conversations between Cardillo

and a confidential informant that occurred after the charged

conduct. [Docket Item 68.]2

      Defendant Cardillo filed several motions in limine and a

motion to dismiss, joined others brought by Defendant

Leadbeater, and opposed motions filed by the Government.

Specifically, Cardillo seeks disclosure from the Government of

certain material, including any potentially exculpatory evidence

known to the Government, and prior bad act evidence that the

Government intends to use. He seeks an order for Government

agents to preserve and produce rough notes of Government

witnesses and for the Government to produce original documents

as evidence. Cardillo also seeks to dismiss Count I of the

Superseding Indictment because it is time-barred and because it


2 The Government also moved to sever Defendant Cardillo from the
Leadbeater trial, “[o]ut of an abundance of caution and to avoid
a potentially unfair trial,” because the degrees of culpability
for Leadbeater and Cardillo vary dramatically. [Docket Item 54.]
The motion was granted, and the Court ordered the Leadbeater
trial to proceed first. [Docket Item 60.] After his trial
commenced, Leadbeater subsequently plead guilty to one count of
conspiracy to commit wire fraud. (Leadbeater Plea Agreement
[Docket Item 91].) Trial for Cardillo is scheduled to begin June
8, 2015.
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is duplicitous, meaning that it charges more than one conspiracy

in a single count, in violation of Fed. R. Crim. P. 8(a). He

also brings a motion to strike surplusage from the Superseding

Indictment. He also brings a cross-motion to dismiss “for

absence of allegations/evidence that Daniel Cardillo defrauded

the ‘victim’ lender.” (Notice of Cross-Motion [Docket Item 42]

at 2.)

      DISCUSSION

   A. Cardillo’s Omnibus Pre-trial Motion

      Cardillo’s pre-trial motion [Docket Item 40] seeks to

dismiss the indictment on statute of limitations grounds and on

the grounds that Count I is duplicitous. In the alternative,

Cardillo requests a bill of particulars and seeks disclosure of

404(b) evidence. Cardillo also joins Defendant Leadbeater’s pre-

trial motion [Docket Item 38]. Several issues raised by Cardillo

have already been resolved by the Court’s Opinion in Leadbeater,

(see Feb. 10, 2015 Opinion (“Opinion”) [Docket Item 76]) and the

Court incorporates those decisions by reference, where

applicable.

           1. Duplicity of Count I

      Cardillo makes the same argument as Leadbeater and contends

that Count I, which lists 26 separate real estate transactions,

actually “charges a series of separate and distinct conspiracies

lumped together in this one count in violation of Fed. R. Crim.


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P. 8(a).” (Cardillo Mot. at 8.) The Court resolved Defendants’

motions in its Leadbeater Opinion of February 10, 2015. (See

Opinion at 5-12). The Court incorporates that discussion here

and holds that Count I is not duplicitous as a matter of law.

After the prosecution rests, Cardillo may renew this motion, if

he has grounds to establish that the evidence proved multiple

conspiracies and that a substantial right of his was prejudiced

by the variance between the proof and the indictment. At this

time, the Court will deny Cardillo’s motion without prejudice.

           2. Statute of limitations

      Defendant Cardillo argues that this prosecution is barred

by the statute of limitations.

      Generally, for non-capital offenses, a five-year statute of

limitations applies to federal criminal prosecutions. See 18

U.S.C. § 3282(a) (“no person shall be prosecuted, tried, or

punished for any offense, not capital, unless the indictment is

found or the information is instituted within five years next

after such offense shall have been committed”). However, 18

U.S.C. § 3293 extends the statute of limitations to 10 years for

financial institution offenses, including a conspiracy to commit

wire fraud that “affects a financial institution” under 18

U.S.C. § 1343, as is charged against Defendants. See 18 U.S.C. §

3293(2) (“No person shall be prosecuted, tried, or punished for

. . . a conspiracy to violate . . . section 1341 or 1343, if the

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offense affects a financial institution . . . unless the

indictment is returned or the information is filed within 10

years after the commission of the offense.”); 18 U.S.C. § 20

(defining “financial institution”). In 2009, Congress amended

the definition of “financial institution” to include “a mortgage

lending business . . . or any person or entity that makes in

whole or in part a federally related mortgage loan.” 18 U.S.C. §

20(10) (2009). Cardillo argues that Countrywide Home Loans was

not a “financial institution” within this statutory framework in

2007, the time of the relevant transactions. The Government

concedes that the Cardillo transaction “does not appear to

involve an FDIC insured bank.” (Gov’t Supp. Br. [Docket Item 53]

at 3.) Cardillo contends that the charge of conspiracy must be

dismissed because the only transaction he is alleged to have

engaged in did not involve a “financial institution” and falls

outside the five-year limitations period:

      [T]he indictment mentions only CW Home Loans, Inc. as an
      entity that provided the funds for Cardillo’s purchase
      of the West Burke Ave unit, and it mentions no other
      entity. Since Countrywide Home Loans Inc., was not
      itself a financial institution and the indictment
      identifies no other such candidate for fulfilling the
      role of an ‘affected’ financial institution in the
      Cardillo   transaction,   the   enlarged    statute   of
      limitations in Section 3293 cannot apply.

(Cardillo Mot. at 17; see also First Cardillo Mem. [Docket Item

71] at 11-13.)




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      The Court’s reasoning in the Leadbeater Opinion applies

equally here. (See Opinion at 13-15.) Even assuming that

Countrywide Home Loans was not a “financial institution,” the

charge of conspiracy against Cardillo falls within the statute

of limitations. At least six of the charged 26 transactions

involved FDIC insured banks as the mortgage originator, which

clearly qualify as transactions affecting financial institutions

and are governed by a 10-year limitations period.3 (Gov’t Opp’n

[Docket Item 45] at 21; Superseding Indictment at 15-17.) None

of the transactions identified in the Superseding Indictment

occurred more than 10 years before the Superseding Indictment

was filed in March 20, 2013. One transaction is timely under

even the five-year statute of limitations. (See Superseding

Indictment at 17, noting date of last transaction as March 26,

2008.) Because the transaction involving Countrywide Home Loans

is part of the conspiracy charged in Count One, and at least one

of the fraudulent real estate transactions in Count One is

timely under either limitations period, the charge of conspiracy




3 The properties are: 5501 Atlantic Avenue, Units 204, 205 and
207; 4601-05 Niagra Avenue, Unite 200; 411 E. Buttercup Road,
Unit 103; and 309 E. Poplar Avenue. The mortgages were obtained
through IndyMac Bank, FSB; Wells Fargo Bank, N.A.; Washington
Mutual Bank; JP Morgan Chase; and American Partners Bank.
(Superseding Indictment at 15-17.)
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 in Count I is timely.4 Cardillo’s motion to dismiss Count I as

 untimely is denied.

            3. Bill of particulars

       Defendant Cardillo moves, under Fed. R. Crim. P. 7(f), for

 a bill of particulars specifying (1) every act or omission, by

 date, time, and location that Defendant is alleged to have

 committed from December 13, 2007 that evidences any

 participation in or connection to the March 26, 2008

 transaction;5 and (2) the acts or omissions, by date, time, and

 location Defendant is alleged to have committed in connection

 with the 25 transactions in which he was not a purchaser, acts

 or omissions by Defendant which aided or furthered those

 transactions, and the persons with whom he committed said acts.

       Federal Rule of Criminal Procedure 7(f) permits the court,

 in its discretion, to “direct the filing of a bill of

 particulars.”    Fed. R. Crim. P. 7(f); United States v. Fischbach

 and Moore, Inc., 576 F. Supp. 1384, 1388 (W.D. Pa. 1983). The

 purpose of a bill of particulars is to inform the defendant of

 the nature of the charge against him with sufficient precision

 to enable him to prepare for trial, to minimize the danger of



 4 It is incumbent on the Government to prove at trial that at
 least one overt act in furtherance of the conspiracy was
 undertaken within the limitations period, and this will be
 included in the Jury Instructions.
 5 The property is 415 Heather Road a/k/a 5700 Ocean Ave., Unit

 306, Wildwood Crest, NJ.
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 surprise during trial, and to protect him against a second

 prosecution for an inadequately described offense. United States

 v. Addonizio, 451 F.2d 49, 63-64 (3d Cir. 1971) (quoting United

 States v. Tucker, 262 F. Supp. 305, 308 (S.D.N.Y. 1966)), cert.

 denied sub nom., 423 U.S. 858 (1975); United States v.

 Eisenberg, 773 F. Supp. 662, 689 (D.N.J. 1991).

       Rule 7(f) was amended in 1966 “to encourage a more liberal

 attitude by the courts towards bills of particulars without

 taking away the discretion which courts must have in dealing

 with such motions on individual cases.” Fed. R. Crim. P. 7(f)

 advisory committee's note. Notwithstanding this liberalization,

 a bill of particulars is not a discovery tool “by which

 defendants obtain disclosure of every detail of the theory and

 preparation of the Government's case.” Fischbach, 576 F. Supp.

 at 1389. Only where the indictment is too vague or indefinite to

 accomplish the objectives above is a bill of particulars

 necessary. Addonizio, 451 F.2d at 64.

       The Court will deny Defendant’s motion for a bill of

 particulars. The Third Circuit has held that a defendant is not

 entitled to a list of uncharged overt acts and uncharged

 criminal conduct, nor is he entitled to a list of the identities

 of Government witnesses. United States v. Di Pasquale, 740 F.2d

 1282, 1294 (3d Cir. 1984); United States v. Armocida, 515 F.2d



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 49, 54 (3d Cir. 1975); Addonizio, 451 F.2d at 62; United States

 v. Vastola, 670 F. Supp. 1244, 1270 (D.N.J. 1987).

       Cardillo’s request in this case is similar to the

 defendant’s request in United States v. Armocida. There, the

 defendant requested a bill of particulars listing “any other

 overt acts committed, setting forth when, where and how it was

 committed, which were not set forth in the indictment.” The

 district court denied his request, and the defendant argued on

 appeal that he was surprised and unfairly prejudiced at trial by

 the testimony of a witness who was not listed in the indictment

 as someone to whom he allegedly distributed heroin. Finding no

 abuse of discretion, the Third Circuit explained that a “request

 for the ‘when, where and how’ of any overt acts not alleged in

 the indictment is “tantamount to a request for ‘wholesale

 discovery of the Government's evidence,’ which is not the

 purpose of a bill of particulars under Fed. R. Crim. P. 7(f).”

 Armocida, 515 F.2d at 54 (citing Addonizio, 451 F.2d at 64).

       The Superseding Indictment states that Cardillo was a straw

 purchaser in a conspiracy to defraud banks and to obtain

 property by means of materially false and fraudulent pretenses,

 and describes the role that straw purchasers played in the

 conspiracy. The dates, locations, and funds released for each of

 26 transactions are also listed in the Indictment, and the

 Government has already represented at oral argument that

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 Cardillo is alleged to have participated in only one of the 26

 fraudulent real estate transactions: the purchase of a

 condominium unit at 620 West Burke Avenue in Wildwood, N.J. The

 Indictment is not too vague that it does not fairly inform

 Cardillo of the nature of the charges against him, and the

 information Cardillo has already received is sufficient to

 enable him to prepare for trial. Cardillo is not entitled to a

 detailed preview of Defendant’s case at trial and need not be

 told all the overt acts the Government will prove in

 establishing the conspiracy and Cardillo’s precise role within

 it. See, e.g., United States v. Zolp, 659 F.Supp. 692, 706

 (D.N.J. 1987) (denying requests for bill of particulars seeking,

 among other things, the names and addresses of co-conspirators

 and details about the conspiracies and conspirators in which the

 defendant was charged with participating); United States v.

 Boffa, 513 F. Supp. 444, 485 (D. Del. 1980) United States v.

 Heldon, 479 F.Supp. 316, 323 (E.D. Pa. 1979) (denying request

 for bill of particulars brought by defendants charged with drug

 conspiracy who sought specific times and places drugs were

 allegedly distributed and overt acts in furtherance of

 conspiracy).

       The Court will accordingly deny Cardillo’s request.




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            4. Immediate disclosure of Brady material

       Defendant’s request for immediate production of Brady

 material (Cardillo Mot. [Docket Item 40-1] at 2 (joining the

 Leadbeater motions)) was denied as moot in the Court’s February

 10, 2015 Opinion. (Opinion at 15.) Defendant’s request is

 therefore denied as moot.

            5. Disclosure of Giglio & Jencks material

       Defendant’s request for Giglio and Jencks material to be

 provided 30 days before trial (Cardillo Mot. at 2) was resolved

 in the Court’s February 10, 2015 Opinion. (Opinion at 15-16.)

 The Court ordered the Government to produce Giglio and Jencks

 material at least 14 days before the start of the trial. If

 Giglio and Jencks material have not yet been produced, the

 Government is ordered to produce the material ten (10) days

 before the start of trial.

            6. Preserve rough interview notes of all Government
               witnesses

       Defendant’s request that the Government preserve and

 produce all rough interview notes of Government witnesses

 (Cardillo Mot. at 2 (joining the Leadbeater motions)) was

 addressed in the Court’s earlier Opinion in Leadbeater. (Opinion

 at 16.) Defendant’s request is accordingly denied as moot.

            7. Disclosure of 404(b) evidence

       Defendants’ request for early disclosure of Fed. R. Evid.

 404(b) material (Cardillo Mot. at 21-22) was resolved as moot in

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 the Court’s earlier Opinion in Leadbeater (Opinion at 17.)

 Accordingly, Defendant’s request is denied as moot.

            8. Use of original documents

       In its Leadbeater Opinion, the Court denied Defendants’

 request for production of original documents without prejudice.

 (Opinion at 17.) The Government was ordered to make the

 documents available for inspection, and defense counsel is

 allowed to raise any specific disputes about chain of custody or

 authenticity in a pretrial motion. To the extent Cardillo raises

 that argument in his motion, it is denied without prejudice.

            9.    Surplusage in the indictment

       Defendant’s objection to “surplusage” in Paragraph 9 of the

 Indictment was addressed in the Court’s earlier Opinion (Opinion

 at 17-18), the discussion of which the Court incorporates

 herein. The Government agreed to submit a consent order with new

 language replacing the quantification of losses on page 11 of

 the Superseding Indictment with a statement that $13 million

 worth of fraudulent loans were funded. Accordingly, the motion

 is denied without prejudice. The Government shall submit a

 proposed consent order detailing the new language five (5) days

 before the start of the trial.

    B. The Government’s motions in limine [Docket Item 39 & 68]
      and Defendant’s cross motion to dismiss [Docket Item 42-1]

       The Government moves to preclude Defendant from raising a

 jury nullification argument, and from introducing any evidence
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 or argument that mortgage lenders’ alleged negligence in

 approving mortgage loan applications provides a defense to

 Defendants’ conduct. Defendant opposes the Government’s motions

 and files a cross motion to dismiss the indictment because it

 does not allege that Cardillo made material misrepresentations

 that he knew were being relied upon by the victim lenders. The

 Court addressed these arguments in its Leadbeater Opinion (see

 Opinion at 18-26) and incorporates those discussions here.

       The Government also seeks to admit several audio recordings

 of conversations between Cardillo and a confidential informant

 in which Cardillo allegedly admits to receiving money from

 Leadbeater and they allegedly discuss the possibility of future

 transactions.

            1. Jury nullification

       The Government’s motion to preclude Defendant from raising

 a jury nullification argument was addressed by the Court in its

 Leadbeater Opinion (Opinion at 18-19), the discussion of which

 the Court incorporates herein. The Court will grant the

 Government’s motion insofar as it precludes Defendant from

 arguing the theory of nullification to the jury. This holding

 does not in any way inhibit Defendant from cross-examining

 Government witnesses and from pursuing questions to reveal bias,

 including whether Government witnesses were prosecuted or made

 deals with prosecutors in exchange for their testimony.

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            2. Blaming the victim lenders and referring to the
               foreclosure crisis; Defendant’s cross motion to
               dismiss

        The Government’s motion to foreclose Defendant from arguing

 that the victim lenders were negligent or intentionally failed

 to scrutinize the loan applications at issue in this case and to

 prevent Defendant from arguing about or adducing evidence of the

 foreclosure crisis was addressed by the Court’s Opinion in

 Leadbeater. The Court will incorporate its previous discussion

 and holding here. (Opinion at 19-25.) Defendant may not argue in

 opening statements, or elicit testimony on direct examination,

 about the lack of diligence on the part of the victim lenders.

 However, if the Government witnesses testify that they relied on

 the representations in the loan applications, Defendant may

 cross examine the witnesses on this reliance.

        Cardillo argues in his cross motion that the Superseding

 Indictment must be dismissed because it does not allege any

 facts showing that the victim lenders actually relied upon

 Cardillo’s misrepresentations in the loan applications, or that

 Cardillo knew the victim lenders would rely upon those

 misrepresentations. (Cardillo Opp’n [Docket Item 42-1] at 11-

 13.)   Cardillo argues that the Government has in other pleadings

 taken contrary positions, alleging that the victim lenders

 “abandoned all underwriting and risk assessment and in fact was




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 only interested in approving and making loans, in order to sell

 them . . . .” (Cardillo Opp’n at 12.)

       For the reasons set forth in the Court’s earlier Opinion,

 the Court will also deny Cardillo’s cross-motion to dismiss.

            3. 404(b) evidence against Cardillo

       The Government seeks to admit multiple recorded

 conversations between Daniel Cardillo and a confidential

 informant in December 2008 and January 2009 about the allegedly

 fraudulent transaction involving the 620 West Burke Ave.

 property and future transactions. (First Gov’t Mot. [Docket Item

 39] at 38; Second Gov’t Mot. [Docket Item 68] at 9.)6 In the

 recordings, Cardillo indicates that he received the down payment

 for the sale from Leadbeater for the March 2007 closing, and

 that another co-conspirator, Ernesto Rodriguez, could be

 involved in potential future real estate transactions. (First

 Gov’t Mot. at 40; Tr. Dec 16, 2008 at 7, 20; Tr. Jan. 27, 2010

 at 9.) The Government argues that the uncharged criminal conduct

 is admissible because it is intrinsic to the charged crime.

 Specifically, the Government argues that the conversations

 directly prove (1) that Cardillo conspired with Leadbeater and



 6 At oral argument, the parties agreed to postpone any ruling on
 the Government’s motion to admit 404(b) evidence [Docket Item
 39] until transcripts of the recordings were available to
 Cardillo and the Court. After transcripts were turned over to
 Cardillo, the Government renewed its motion to admit the audio
 recordings. (Second Gov’t Mot. [Docket Item 68].)
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 others to obtain mortgage funds for the December 2007

 transaction involving the property at 620 W. Burke Ave; (2) that

 Cardillo knowingly signed a false HUD-1 settlement statement;

 and (3) that he acted knowingly. (Second Gov’t Mot. at 9.) The

 Government also contends that the evidence is admissible under

 Rule 404(b) because it tends to establish Cardillo’s knowledge,

 intent, plan, and absence of mistake.

       Defendant argues that the evidence is not intrinsic because

 it does not depict any illegal scheme, does not demonstrate the

 continuation of any conspiracy, and does not demonstrate the

 involvement of Leadbeater or Cardillo in any alleged scheme.

 Defendant argues that the conversations were taped approximately

 nine months after the last charged transaction in the

 Superseding Indictment and thus does not directly prove the

 existence of a conspiracy which ended in March 2008. Defendant

 also contends that the evidence is inadmissible under Rule

 404(b) because it does not tend to prove Cardillo’s intent or

 conduct at the time of the alleged crime.

       Federal Rule of Evidence 404(b) prohibits the introduction

 of evidence of other crimes, wrongs, or acts that might

 adversely reflect on the defendant’s character, unless that

 evidence bears upon another relevant issue in the case. “[T]he

 threshold inquiry a court must make before admitting similar

 acts evidence under Rule 404(b) is whether that evidence is

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 probative of a material issue other than character.” United

 States v. Sriyuth, 98 F.3d 739, 745–46 (quoting Huddleston v.

 United States, 485 U.S. 681, 686 (1988)). The admission of prior

 “bad acts” under Rule 404(b) must follow four guidelines: (1)

 the evidence must have a proper purpose under Rule 404(b); (2)

 it must be relevant; (3) its probative value must outweigh its

 potential for unfair prejudicial effect under Rule 403; and (4)

 the Court must instruct the jury to consider the evidence only

 for the limited purpose for which it is admitted. United States

 v. Console, 13 F.3d 641, 659 (3d Cir. 1993).

       Evidence that is considered intrinsic to the crime,

 however, is exempt from the requirements of Fed. R. Evid.

 404(b). See Fed. R. Evid. 404(b) advisory committee’s note (Rule

 404(b) “does not extend to evidence of acts which are

 ‘intrinsic’ to the charged offense.”); Green, 617 F.3d at 245;

 United States v. Gibbs, 190 F.3d 188, 217 (3d Cir. 1999) (noting

 that intrinsic evidence “‘may be extremely prejudicial to the

 defendant but the court would have no discretion to exclude it

 because it is proof of the ultimate issue in the case.’”

 (quoting 22 Charles A. Wright & Kenneth W. Graham, Jr., Federal

 Practice and Procedure § 5239, at 450-51 (1978))). In the Third

 Circuit, evidence of a defendant’s uncharged criminal conduct is

 intrinsic to the charged criminal conduct if (1) the conduct

 proves the charged crime, or (2) if the act is performed

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 contemporaneously with the charged crime and facilitates the

 commission of the charged crime. United States v. Green, 617

 F.3d 233, 248-49 (3d Cir. 2010) (citing United States v. Bowie,

 232 F.3d 923, 929 (D.C. Cir. 2000), cert denied, Green v. United

 States, 131 S. Ct. 363 (2010); United States v. Cross, 308 F.3d

 308, 320 (3d Cir. 2002) (“[A]cts are intrinsic when they

 directly prove the charged conspiracy.”).

       The Government describes several excerpts of the recordings

 in its brief. (Second Gov’t Mot. at 5-8.) In a December 11, 2008

 conversation about potentially purchasing properties in

 Wildwood, New Jersey, the confidential informant, SC, asks

 Cardillo about the properties, and Cardillo states, “Hang on . .

 . the Surf units three or four bedrooms facing the ocean. The

 complex has a pool.” He then says, “We’ll make ten if we split

 ten grand on each ya know on this kinda client I think we’re

 doin’ alright.” (Tr. Dec. 11, 2008, at 7.)

       In a December 16, 2008 conversation about the 620 West

 Burke Ave. property, Cardillo states,

       DC: Mine, no it was all about the marine. Mine was a
       wham bam. I figured it was I bought it on paper in 560.
       SC: Okay.
       DC: I figured the marinas up there at six, even if it’s
       six.
       SC: Yeah.
       DC: I didn’t put any money down so ya know twenty
       percent, twenty percent profit right there.
       SC: Did the builder put the money down then so you could
       keep that equity were you able to do a home equity line
       or anything?

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       . . . .
       DC: He was, I did it was a primary.
       SC: Okay.
       DC. So the primary, but it was a balloon one so it was
       seven and three quarters.
       SC: Zero down payment?
       DC: No. Twenty percent. Johnny put the twenty percent
       down.

 (Tr. Dec. 16, 2008 at 7.) Defendant admits that “Mr. Cardillo

 tells [the confidential informant] that Leadbeater furnished the

 money for the buyer’s funds at closing,” but points out that

 Cardillo also states in the same conversation that after the

 closing, Leadbeater insisted that Cardillo owed him $26,000:

       DC: (UI) [unintelligible] he told me he wasn’t gonna
       make any money (UI) I’d buy that fuckin’ condo ya know
       no money outta my pocket, everything’s great.
       SC: How much money did ya get back?
       DC: What? The story is I walk outta there and he goes he
       goes alright man don’t worry about it now but you owe me
       twenty six thousand. I’m like whoe . . . I said dude.
       SC: It’s your cousin though.
       DC: No money outta pocket you weren’t gonna make any
       money off of me. I said I wouldn’t of done it but I ya
       know gonna owe ya money.

 (Tr. Dec 16, 2008 at 20.)

       Finally, in a January 28, 2009 conversation, Cardillo and

 the confidential informant discuss the possibility of using

 “Ernie” in potential future real estate transactions, referring

 to an alleged co-conspirator, Ernesto Rodriguez. (Tr. Jan. 27,

 2010 at 9.)

       The Court first turns to the question of whether the

 evidence is intrinsic to the charged crime. The conversations


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 between Cardillo and the confidential informant occurred in

 December of 2008 and January of 2009, approximately nine months

 after the date of the last real estate transaction listed in the

 Superseding Indictment, and one year after the closing in

 December of 2007 of 620 West Burke Avenue. The Government

 charges in the Superseding Indictment that the conspiracy

 continued through August 2011. (See Superseding Indictment at

 11.) However, Cardillo argues that the evidence is extrinsic to

 the charged crime because it occurred months after the

 conspiracy ended. He argues that the Government has presented no

 proof that the conspiracy continued beyond the last charged

 transaction. (See First Cardillo Mem. [Docket Item 71]; Second

 Cardillo Mem. [Docket Item 72] at 13.) See, e.g., United States

 v. Butch, 48 F. Supp. 2d 453, 458 (D.N.J. 1999) (holding that

 events which occurred five months before the conduct in the

 Indictment were too far removed and distinct to be considered

 intrinsic to the charged crime of conspiracy to distribute and

 possess with intent to distribute oxycodone).

       When one examines the transcripts of the consensual

 recordings from the various dates from December 4, 2008 through

 March 4, 2009,7 the conversations fall into two broad categories.


 7 The dates on many of the proposed transcripts are mislabeled,
 reflecting conversations on various dates in December of 2013,
 and January, February, and March of 2014. The correct dates can
 only be in December of 2008 and January, February, and March of
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 First, there are statements by Defendant Daniel Cardillo which

 explain or directly address his charged conduct in his purchase

 of 620 West Burke Avenue in Wildwood. Second, by far the larger

 portion, there are conversations about plans for some future

 type of real estate purchase in various settings among Cardillo

 and others, that did not come to fruition; no proposed testimony

 other than these transcripts from 2008-2009 illuminates these

 conversations.

       The first category contains evidence that is intrinsic to

 the charged crime. Cardillo essentially recounts to the

 confidential informant certain steps he took to buy the property

 at 620 West Burke Avenue, and mentions that “Johnny” gave him

 the twenty percent down. He also discusses the possibility of

 engaging in future real estate transactions involving Ernesto

 Rodriguez. Cardillo’s statement about not putting any money down

 for the 620 West Burke Avenue deal and getting “twenty percent

 profit right there” is probative of his knowledge and motive for

 participating in the conspiracy. The fact that he knew he would

 not be providing a down payment for the property suggests that

 he knew of the fraudulent scheme and joined the conspiracy

 knowing its objectives and the manner in which it was being




 2009, as noted in Def. Memo. in Opp. at 1, n.1, and in the Gov’t
 Br. at 5-7 (mentioning only conversations in 2008 and 2009 but
 not noting the mislabeling).
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 carried out. The context in which Cardillo mentions the

 involvement of Leadbeater and Rodriguez also tends to show that

 he had a conspiratorial relationship with both of them.

       Such evidence is intrinsic because it is, in a manner

 similar to a confession, a statement by the accused about his

 own charged conduct. Assuming proper foundation for the

 recordings and transcripts, such statements of Cardillo

 (including statements of others for purposes of providing

 context to Cardillo’s statements) are admissible under Fed. R.

 Evid. 801(d)(2)(A) as statements of a party-opponent, and they

 are not subject to the constraints of Rule 404(b). Such

 statements of the accused are not evidence of “other crimes or

 wrongs” under Rule 404(b), because they are evidence of the same

 crime. The two excerpts from the conversation between Cardillo

 and the confidential informant on December 16, 2008 (see Tr. Dec

 16, 7 & 20) are the prime examples of admissible intrinsic

 evidence.8




 8 Although intrinsic evidence is not subject to requirements of
 admissibility under Rule 404(b), the Court notes that the
 probative value of the intrinsic evidence is not “substantially
 outweighed” by the danger of unfair prejudice. See United States
 v. Bergrin, 682 F.3d 261, 278 (3d Cir. 2012) (noting that “[a]s
 long as evidence offered under Rule 404(b) satisfies [the]
 criteria [of probativeness], we favor its admission.” (citing
 United States v. Johnson, 199 F.3d 123, 128 (3d Cir. 1999))).
 The audio recordings are highly probative in demonstrating
 Cardillo’s knowledge of the fraudulent scheme and his
 relationship with Leadbeater. United States v. Holck, 398 F.
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       Evidence from the December 11th and January 28th

 conversations above is not intrinsic. There is some talk with

 the informant about considering a purchase of one or more units

 at the Surf, and Cardillo speculates they’ll split $10,000 on

 each unit. There is no reference back to Cardillo’s purchase of

 620 West Burke Avenue, so far as the Court can perceive.

       As to the vast remainder of the proffered recordings, the

 Court does not discern a concrete “crime” or “bad act” that

 Cardillo was engaged in, and the remaining conversations are

 thus inadmissible under Rule 404(b). The Government has failed

 to demonstrate that the discussions and speculations about

 launching other real estate deals in the Wildwood area are

 admissible for a proper Rule 404(b) purpose. It is difficult to

 perceive what sort of scheme is being discussed among Cardillo

 and the confidential informant. Although the informant does most

 of the talking, it is unclear what is being contemplated. There

 is no apparent agreement to purchase any specified unit, no

 agreement about price, no application for a mortgage, no

 identification of a straw purchaser. If Cardillo’s role in the

 charged conspiracy was to act as a straw purchaser, it seems

 clear he is not contemplating being the purchaser in the deals

 under consideration.



 Supp. 2d 338, 371 (E.D. Pa. 2005) (noting that evidence that is
 highly probative is “exceptionally difficult” to exclude).
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       The Government has likewise failed to show how the evidence

 proves something other than propensity. United States v.

 Caldwell, 760 F.3d 267, 276 (3d Cir. 2014). These conversations

 do not have the required touchpoints of relevance to the charged

 offense for admissibility under Rule 404(b). The contemplated

 deals are murky and seem to involve methods and roles different

 from the conduct charged in the conspiracy. Not only is the deal

 unclear, but so is Cardillo’s supposed role in the new crime.

 The potential seller is not agreeable to reducing his price to a

 level that the informant wants (and that is presumably necessary

 to enable a successful fraudulent transaction). In the December

 11th conversation, neither Cardillo nor the CS has a “mortgage

 guy,” and Cardillo observes that “mortgages are tight right

 now.” (Tr. Dec 11, 2008 at 5.) Cardillo himself does not attend

 several key meetings that the informant has set up, citing his

 wife’s schedule and, later, his baby’s needs. Much of the sketch

 of the deal is painted by the informant, not by Cardillo. Where

 the proferred Rule 404(b) evidence, as here, occurs a year after

 the charged acts of Cardillo, such conduct must have more in

 common and be more specific in its intention than is the case

 here, before it can be probative of Cardillo’s state of mind in

 the earlier transaction.

       Even subsequent taped conversations in February and March

 of 2008 shed no light on Cardillo’s intentions. For example, in

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 a February 9th call from the informant to Cardillo to set up a

 meeting with Ernie Gonzalez and a builder, Cardillo says he may

 have to miss the meeting and doesn’t know whether he can be

 there. (Tr. Feb. 9, 2009 at 13.) Cardillo was more interested in

 short-selling his own unit. (Id.) Nothing is proferred as to

 whether any meeting took place or who attended on February 10th.

 Cardillo’s voice is on none of the tapes thereafter, on February

 19, 20, 21, 23 and March 4, 2009. In short, one is left to

 speculate what the deals involve, whether they involve fraud or

 merely attempts to get a good bargain and a finder’s fee in a

 depressed real estate market, and most importantly whether

 Cardillo has a criminal intent.

       To admit these conversations would require a substantial

 amount of other evidence not supplied by these tapes and perhaps

 non-existent, to demonstrate anything probative about Cardillo’s

 knowledge, intent, lack of mistake or other state of mind from a

 year or more earlier in 2007. Even if it is possible to view

 Cardillo as contemplating a new fraudulent purchase in December

 2007, the Government has not proffered evidence that would make

 that conclusion sufficiently certain to justify the connection

 of time at trial and the risk of confusion to the jury, and

 therefore this aspect of the Government’s proffered evidence is

 inadmissible under Rule 404(b) and Rule 403.



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       In summary, the Government’s motion to admit audio

 recordings from December of 2008 to March of 2009 will be

 granted in part. The identified portions of a conversation

 between Cardillo and the confidential informant on December 16,

 2007 (Tr. at 7 and 20) constitute intrinsic evidence of

 Cardillo’s own statements about the charged crime and are

 admissible. The remainder of the proffered audio recordings do

 not qualify for admissibility under Rule 404(b) and 403 and to

 that extent the Government’s motion will be denied. Nothing

 herein precludes the use of these recorded conversations as

 impeachment material if Cardillo testifies at trial and opens

 the door to cross-examination on matters such as his knowledge,

 state of mind, or roles of alleged co-conspirators in the

 charged criminal conduct, and such determination must await

 developments at trial.

       CONCLUSION

       An accompanying Order will be entered.


  May 27, 2015                               s/ Jerome B. Simandle
 Date                                       JEROME B. SIMANDLE
                                            Chief U.S. District Judge




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